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                                                              #:9442
Name and address:

                 Christina N. Goodrich (SEN 261722)
                           K&L GATES LLP
               10100 Santa Monica Boulevard, Sth Floor
                    Los Angeles, California 90067


                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                            CASE NUMBER
Entropic Communications, LLC
                                                         Plaintifffs),                          2:23-cv-01049-JWH-KES

                  V.
                                                                              APPLICATION OF NON-RESIDENT ATTORNEY
 Cox Communications, Inc., et al.                                                   TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                               PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500fee online at the time offiling (using a credit
    card). The fee is requiredfor each case in which the applicantfiles an Application. Failure to pay the fee at the time offiling will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500fee. (Certain
    attorneys for the United States are also exemptfrom the requirement of applyingfor pro hac vice status. See L.R 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfectformat must be emailed to the generic chambers email address. L.R. 5-4A.2.
SECTION I - INFORMATION
Galluzzo, Vincent J.
Applicant's Name (Last Name, First Name & Middle Initial)                                         check here iffederal government attorney
K&L Gates LLP
Firm/Agency Name
300 South Tryon Street, Suite 1000                                       (704)331-7526                        N/A
                                                                         Telephone Number                     Fax Number
Street Address
Charlotte, NC 28202                                                                        vincent.galluzzo@klgates.com
City, State, Zip Code                                                                               E-mail Address

I have been retained to represent the following parties:
Entropic Communications, LLC                                             [x] Plaintiff(s) |T] Defendant(s) Q] Other:
                                                                         QJ Plaintiffs) Q] Defendant(s) Q] Other:
Name(s) ofParty(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                  Name of Court                          Date ofAdmission           Active Member in Good Standing? (if not, please explain)
Bar of Florida                                             11/02/2010              Yes

Bar of District of Columbia                                 10/03/2011             Yes
(continued in Section IV)


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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
         Case Number                                    Title of Action                            Date of Application      Granted / Denied?




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

                                                                      Vincent J. Galluzzo
                                                                                         (please type or print)


                                                                     Applicant^ Signature


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                                                        #:9444
SECTION III - DESIGNATION OF LOCAL COUNSEL
Goodrich, Christina N.
Designee's Name (Last Name, First Name & Middle Initial)
K&L Gates LLP
Firm/Agency Name
 10100 Santa Monica Boulevard, 8th Floor                           (310) 552-5547                       (310) 552-5001
                                                                   Telephone Number                     Fax Number
 Street Address                                                   christina.goodrich@klgates.com
Los Angeles, CA 90067                                             Email Address
City, State, Zip Code                                             261722
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

               Dated May 6, 2024                                  Christina N. Goodrich



                                                                  Designee's Signature
SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  Bar of North Carolina - Admitted 01/20/2023 -Active Member in Good Standing
  United States Court of Appeals, Federal Circuit - Admitted 05/24/2011 - Active Member in Good Standing
  United States Court of Appeals, Fourth Circuit -Admitted 4/12/2019 -Active Member in Good Standing
  United States District Court, Middle District of Florida - Admitted 07/26/2018 - Active Member in Good Standing
  United States District Court, Northern District of Florida - Admitted 08/07/2018 - Active Member in Good Standing




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                                              #:9445




                                    The Florida Bar
                                          651 East Jefferson Street
                                         Tallahassee, FL 32399-2300
    Joshua E. Doyle                                                                  850/561-5600
   Executive Director                                                            www.FLORIDABAR.org

 State of Florida       )
 County of Leon         )                      In Re: 0086472
                                                      Vincent John Galluzzo
                                                      K&L Gates LLP
                                                      300 S Tryon St Ste 1000
                                                      Charlotte, NC 28202-0136
I CERTIFY THE FOLLOWING:

I am the custodian of membership records of The Florida Bar.

Membership records of The Florida Bar indicate that The Florida Bar member listed above was admitted to
practice law in the state of Florida on November 2, 2010.

The Florida Bar member above is an active member in good standing of The Florida Bar who is eligible to
practice law in the state of Florida.

Dated this 5th day of May, 2024.




Cynthia B. Jackson, CFO
Administration Division
The Florida Bar

PG:R10
CTM-282803
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             On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                             the District of Columbia Bar does hereby certify that



                             Vincent John Galluzzo
           was duly qualified and admitted on October 3, 2011 as an attorney and counselor entitled to
            practice before this Court; and is, on the date indicated below, an Active member in good
                                                standing of this Bar.




                                                                                 In Testimony Whereof,
                                                                             I have hereunto subscribed my
                                                                            name and affixed the seal of this
                                                                                   Court at the City of
                                                                           Washington, D.C., on May 05, 2024.




                                                                                 JULIO A. CASTILLO
                                                                                  Clerk of the Court




                                                              Issued By:


                                                                              David Chu - Director, Membership
                                                                             District of Columbia Bar Membership




      For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                          memberservices@dcbar.org.
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             Certificate of Good Standing
   I, Alice Neece Mine, Secretary of the North Carolina State Bar, do hereby certify that


                            Vincent John Galluzzo
                                        Bar # 60098


     was licensed to practice law by the State of North Carolina on January 20, 2023.
Said lawyer is presently an active member of the North Carolina State Bar and is eligible to

                              practice law in North Carolina.
 Said lawyer is not subject to a pending order of administrative or disciplinary suspension.

               Said lawyer's financial account with the State Bar is current.
       Therefore, said lawyer is in good standing with the North Carolina State Bar.
Given over my hand and the Seal of the North Carolina State Bar, this the 1st of May, 2024.




                          Secretary of the North Carolina State Bar
